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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF COLORADO
                        The Honorable Michael E. Romero


 In re:                                      Case No. 23-14859-MER

 Shilo Dion Sanders,                         Chapter 7

 Debtor.

                        NOTICE OF STATUS CONFERENCE

       PLEASE TAKE NOTICE that the Court will hold an in-person status conference
and non-evidentiary hearing on the Motions for 2004 Examinations filed by creditor John
Darjean (ECF Nos. 65 & 66). The hearing will occur on Thursday, November 7, 2024,
at 10:30 a.m. in Courtroom C, U.S. Custom House, 721 19th Street, Denver, Colorado,
following the conclusion of oral arguments in Darjean v. Sanders, Adv. Pr. No. 24-1022.

       The chapter 7 trustee and/or his counsel is required to attend the status
conference and should be prepared to update the Court on the status of the case and
his investigation of the estate’s assets.

 Dated: November 4, 2024                    BY THE COURT:



                                            _________________________
                                            Michael E. Romero, Judge
                                            United States Bankruptcy Court
